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IN THE UNITED STATES DISTRICT COURT ‘~'» f - ' " "‘”
FOR THE WESTERN DISTRICT OF TENNESSEE

 

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DAVlD HAYNES, )
)

Plaintiff, )

)

v. ) Civil No. l-05»1111 T-An

)

JO ANNE B. BARNHART, )
Connnissioncr of the Social )
Security Admini stration, )
)

Defendant. )

CONSENT ORDER OF REMAND UNDER
SENTENCE SIX OF 42 U.S.C. § 405(2)

After reviewing the above-captioned case, agency counsel requested that the Appeals
Council of the Social Security Administration undertake further review of this case, which it agreed
to do. Accordingly, the parties jointly propose that this case be remanded pursuant to sentence six
of 42 U.S.C. § 405(g) for further consideration before the Comrnissioner files her answer
lT IS THEREFORE ORDERED that the Commissioner’s decision is remanded under
sentence six of 42 U.S.C. § 405(g) so that an administrative law judge (ALJ) can take action in
accordance with this order. Upon remand, the ALJ should obtain the testimony of a vocational
expert to determine whether Plaintiff can perform jobs that exist in significant numbers in the
national economy As part of his residual functional capacity finding, the ALJ found that Plaintiff
must avoid moderate exposure to fumes, odors, and dusts. However, the ALJ used the medical-
vocational guidelines to direct a decision in the case (Tr. 29). Social Security Ruling (SSR) 85-15,
indicates that where an environmental restriction falls between very little and excessive, resolution
of whether Plaintiff can perform Work which exists in significant numbers in the national economy

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with Ftu|e 58 and,'or_79 (a) FHCP on §

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generally requires consultation with a vocational expert. Ifthe claimant is restricted from performing
a full range of Work, an ALJ may use the medical-vocational guidelines as a framework for his
decision but must rely on other evidence to carry his burden. § Burton v. Secretarv of Health &
Human Servs., 893 F.2d 821, 822 (6th Cir. 1990).

Accordingly, upon remand, the Comrnissioner shall take action consistent with the
foregoing

SO ORDERED.

 
   

 

JAMES .,TODD JUDGE
STATES DISTRICT COURT

CONSENTED TO AND APPROVED BY:

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UNITSTED`ATES DISTRICT C URT wESTER D"ISRICT oF TNNESSEE

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Honorable .l ames Todd
US DISTRICT COURT

